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                             IN THE UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION


IN RE: Gustavo Giles-Flores                                        CHAPTER 13
       8824 Bissonnet Street
       Houston, TX 77074                                           CASE NO. 16-34941-H1

                     DEBTOR

                          MOTION TO DISMISS FOR FAILURE TO MAKE PAYMENTS

        The Chapter 13 Trustee moves to dismiss this case based on the Debtor failure to make required payments .
The debtor is delinquent $2,150.00, an amount constituting 2.69 months of required payments.

        The delinquent payments are due for post confirmation payments required by the confirmed plan .

        NOTICE TO DEBTORS: YOU MUST DO ONE OF THE FOLLOWING:

        1. BRING YOUR PAYMENTS CURRENT WITHIN 21 DAYS OF THE DATE ON THIS MOTION .

        2. FILE A RESPONSE WITHIN 21 DAYS THAT SHOWS THAT YOUR PAYMENTS ARE CURRENT .

        IF YOU FAIL TO DO SO, THE BANKRUPTCY COURT WILL PROBABLY DISMISS YOUR
        BANKRUPTCY CASE AND MAY DO SO WITHOUT A HEARING. THE BANKRUPTCY COURT WILL
        NOT ALLOW PAYMENTS TO BE MADE AT THE HEARING.

        IF A TIMELY REPONSE IS FILED, A HEARING WILL BE HELD ON JANUARY 10, 2023 AT 10:00 AM IN
        THE U.S. BANKRUPTCY COURT, 515 RUSK, ROOM 404, 4TH FLOOR, HOUSTON, TX 77002.

         WHEREFORE PREMISES CONSIDERED, the undersigned Trustee prays for an Order of Dismissal ,
conversion to Chapter 7, or such other relief as may be deemed just and appropriate .




                                                        Respectfully Submitted,

                                                        /s/ David G. Peake
                                                        DAVID G. PEAKE, TRUSTEE
                                                        ADMISSIONS ID NO. 15679500
                                                        9660 HILLCROFT, STE 430
                                                        HOUSTON, TX 77096
                                                        (713)283-5400
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                                               CERTIFICATE OF SERVICE

    This is to certify that a true and correct copy of the foregoing Trustee's Motion to Dismiss Case has been
served electronically on all parties requesting electronic notice and has been served on the listed parties (if listed)
by mailing a copy of same to the address listed below via first class mail December 06 , 2022.


Debtors:
Gustavo Giles-Flores
8824 Bissonnet Street
Houston, TX 77074

Debtor's Attorney:
VASQUEZ LAW GROUP PLLC
REGINA MARIE VASQUEZ
2040 NORTH LOOP W, SUITE 330
HOUSTON, TX 77018

U.S Trustee:
Ms. CHRISTINE MARCH
SENIOR ASSISTANT TO THE UNITED STATES TRUSTEE
515 RUSK, SUITE #3516
HOUSTON, TX 77002


                                                           /s/ David G. Peake
                                                           David G. Peake
                                                           Chapter 13 Standing Trustee
                                                           Admissions I.D. No. 15679500
                                                           9660 Hillcroft, Ste 430
                                                           Houston, TX 77096
                                                           (713)283-5400
                                                           (713)852-9084
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
IN RE:                                            §                CASE NO: 16-34941-H1
                                                  §
Gustavo Giles-Flores                              §
                                                  §
                                                  §
DEBTOR(S)                                         §                CHAPTER 13

                                       ORDER OF DISMISSAL

    1. On the chapter 13 trustee’s motion, this case is dismissed. The Court’s reasons for
       dismissal were stated on the record in open court.

    2. The deadline for filing an application for an administrative expense in this case is set at 21
       days following entry of this order. The deadline for filing a motion for allowance of a claim
       arising under § 507(b) in this case is also set at 21 days following entry of this order.

    3. If an application for allowance of professional fees and expenses has previously been filed in
       this case, the applicant is not required to file a new application for allowance of administrative
       expenses under § 503, if the new application only seeks allowance of the same professional
       fees and expenses previously requested.

    4. Any prior order directing an employer or other person to pay funds to the chapter 13
       trustee is terminated. Any prior order authorizing an ACH or other means of electronic payment
       is terminated.

    5. The Court finds good cause to direct the payment of funds held by the chapter 13 trustee
       at the time of entry of this Order as follows:

         (a) First, the balance on hand in the Emergency Savings Fund will be paid to the
          Debtor(s);

         (b) Second, to any unpaid chapter 13 trustee’s statutory compensation;

         (c) Third, the balance on hand in the Reserves for ad valorem taxes, to the holder of the
         claim secured by the senior security interest against the property for which the Reserves
         were established;

         (d) Fourth, the balance in any other Reserve account to the Debtor;

         (e) Fifth, to any unpaid payments mandated to be made by the Trustee under a prior
         Court order, including but not limited to any mandated adequate protection payments;
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       (f) Sixth, to pay any unpaid fees to Debtor(s)’ attorneys and to reserve for any filed
        applications for which no order has yet been entered; and

       (g) Seventh, to the Debtor(s).


Any party-in-interest objecting to the “for cause” distributions under this paragraph 5 must file an
objection within 14 days of entry of this Order. The Chapter 13 Trustee will defer making distributions
under this paragraph 5 until the next ordinary disbursement date following the later of (i) 22 days
following entry of this Order; or (ii) entry of an order resolving any timely filed objection.



   SIGNED ON ___________________________




                                                       MARVIN ISGUR
                                                       UNITED STATES BANKRUPTCY JUDGE
